              Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 1 of 6


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                            IN THE IJNITED STATES DISTRICT COURT                     ggT -7 2219
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                                                                                             QFMARY
     U N ITED STA TE S O F A M ER ICA               *                       BY                             DEP;TY


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                                                                      r / td M MW
     TA W AN NA P.G A IN ES,                                 (W ireFraud,18U.S.C.j1343;
                                                    W
                                                             Forfeiture,18U.S.C.j981(a)(1)(C),
                    D efendant                               21U.S.C.j853,28U.S.C.j2461(c))


                                           IN FO R M A TIO N

                                             COUNT ONE
                                             (W ireFraud)
           The United StatesA ttorney forthe D istrictofM aryland chargesthat:

                                              lntroduction

           A talltim esrelevantto this Inform ation:

           M arvland State Government

                   The GeneralA ssem bly wasthe State ofM aryland's legislative body. The

    bicnm erallegislature w ascom posed ofthe Senate,with 47 Senators,and the H ouse ofD elegates,

    w ith 141 D elegates.

                   M aryland state law required certain State officials,em ployees,and candidates for

    oftice to tile annualtinancialdisclosure statem ents.

                   The M aryland State Ethics Com m ission,as directed in GeneralProvisionsA rticle

    j5-205,administeredtheprovisionsoftheMarylandPublicEthicsLaw.
             Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 2 of 6



           TheDefendant

       4.       DefendantTAW ANNA P.GAINES (ûIGAINES'')wasaMaryland State
D elegate from D ecem ber2001 through the present,representing D istrict22,w hich covered

portionsofPrince G eorge's Cotm ty,M aryland. O verheryears in the H ouse ofD elegates,

G A IN ES held m any com m ittee assignm ents,including vice-chairofthe Appropriations

CommitteeandAssistantM ajorityLeader. Asanelectedofficial,GAINESowedadutyof
honestservicesto the State ofM aryland,Prince G eorge's County,and theircitizens.

       TheM arvlandStateBoard t?fElectionsandRezulated Canpaizn Committees
                The M aryland State Board ofElections regulated state and localelections in

M aryland and w as charged w ith ensuring com pliance w ith both state and federalelection law sas

itrelatedto electionsthatoccurredwithintheirrespedivejurisdictions.TheStateBoardof
Elections m aintained a database ofcam paign donationsforstate and localelection cam paigns

and enforced M aryland'scam paign finance law s.

                TheçsFriendsofTawamzaP.Gaines''(hereinafterûCFTPG'')candidatecommittee
wasthe nam e ofthe cam paign tinance entity forthe G A IN ES cam paign for M aryland State

Delegate from the date ofitsestablishm entin June 2002 through the present. FTPG w as a

regulated stateelection campaign comm ittee. FTPG held abank accountatBank ofAm erica,a

tinancialinstitution insured by the FederalD epositlnsurance Corporation. Separately,

G A IN ES held and had exclusive controlovera Paypalaccountused to acceptelectronic

donationsto FTPG . The FTPG Paypalaccountw asnotdisdosed in State cam paign finance

filings.
          Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 3 of 6



       7.      UnderM arylandCode,Election Law,j 13-218,thecampaigntreasurer(andnot
thecandidate)wasresponsibleformaintainingtheassetsofacampaignfinanceentity.
Similarly,underj13-218(b),thecampaign financeentity'sassetsçûmaybedisbursedonlyifthey
have passed through the hands ofthe treasurer''and only tlin accordance w ith the purposesofthe

entity.'' Candidates,including G AIN ES,w ereprohibited from personally m aking

disbursem ents from a cam paign finance entity.

       8.      lnaddition,underj13-220,acampaign tinanceentityçfshalldeposital1funds
receivedinadesignated campaignaccount''and,subjecttocertainexceptionsinapplicabletothe
conductdescribed herein,m ay only m ake disbursem ents from itsbank accountby check or

electronic m ethod thatis,specifically notby cash w ithdrawal.

               Underj13-221,thetreasurerûcshallkeep adetailed andaccurateaccountbookof
allassetsreceived,expendituresm ade,and obligationsincurred by oron behalfofthe entity,''

andûûgelachexpendituremadefrom acnmpaignaccountshallbesupportedbyareceipt.''
Cam paignsforstate offices in M aryland w ere required to file certain cam paign finance reports

w ith the M aryland State Board ofElections.

                                    The Schem e to D efraud

       10.     From atleastin oraboutJanuary 2015 through in oraboutApril2018,in the

D istrictofM aryland and elsewhere,GA IN ES devised and intended to devise a schem e and

artifice to defraud FTPG and the cam paign contributors ofFTPG ,and to obtain m oney and

property from FTPG and the cam paign contributors ofFTPG by m eans ofm aterially false and

fraudulentpretenses,representations,and prom ises,w ith the intentto defraud and w ith

knowledgeofthescheme'sfraudulentnature(çûtheschemetodefraud'').
           Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 4 of 6



                         M anner and M eans ofthe Schem e to D efraud

       Itw aspartofthe schem e to defraud that:

               G A IN ES w ould solicitcam paign fundsfrom contributors on the representations

and prem ise thatthe ftm ds would be used to facilitate herreelection and m aintain herleadership

positions within the M aryland GeneralA ssem bly.

        12.    G A INE S w ould acceptdonations from certain cam paign contributorsinto the

FTPG Paypalaccount.

               G A IN ES,withoutauthorization and in violation ofM aryland cnm paign finance

law s,w asa signatory on the FTPG Paypalaccountand w ould utilize cam paign fundsfrom the

FTPG Paypalaccountforherpersonaluse.

               G A IN ES w ould receive cam paign contributionsand convertthem to her own use

w ithoutcausing the contributionsto be identitied on reports m ade to the M aryland State Board

ofElections.

                                           The C harae

               On oraboutAugust20,2017,in the D istrictofM aryland and elsew here,the

defendant,

                                    T AW A NN A P.G AIN ES,

forthe purpose ofexecuting and attem pting to execute the schem e to defraud,know ingly

transm itted and caused to be transm itted the follow ing by m eans ofw ire com m unication in

interstatecomm erce:awire comm unication sentoutside ofM aryland regarding a $125 cash
w ithdraw alfrom the FTPG Paypalaccount.



18U.S.C.j 1343
          Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 5 of 6



                               FO RFEITU R E A LLE GA T IO N

       The United StatesA ttorney forthe D istrictofM aryland furthertindsthat:

              Pursuantto FederalRule ofCrim inalProcedure 32.2,notice ishereby given to the

defendantthatthe U nited States w illseek forfeiture aspal4 ofany sentence in accordance w ith

18U.S.C.j981(a)(1)(C),21U.S.C.j853(p),and28U.S.C.j2461(c),intheeventofthe
defendant'sconviction on CountOne ofthis Inform ation.

                                    W ire Fraud Forfeiture

              Upon conviction ofthe offense setforth in CountOne,pursuantto 18 U .S.C .

j981(a)(1)(C),thedefendant,
                                  TA W AN N A P.G A IN E S,

shallforfeitto the U nited States any and allproperty,realorpersonal,w hich constitutes oris

derivedfrom proceedstraceabletosuchoffense,includingbutnotlimitedtoamoneyjudgment
ofatleast$22,565.03 in United Statescurrency.

                                       Substitute A ssets

              If,asa resultofany actorom ission ofany defendant,any ofthe property

describedaboveasbeingsubjecttoforfeiture:
                      calm otbe located upon the exercise ofdue diligence;

                      hasbeen transferred orsold to,ordeposited w ith,a third person;

                      hasbeenplacedbeyondthejurisdictionoftheCourt;
              d.      hasbeen substantially dim inished in value;or,

                      hasbeen com m ingled with otherproperty w hich cannotbe subdivided

                      w ithoutdifficulty,
          Case 8:19-cr-00468-TDC Document 1 Filed 10/07/19 Page 6 of 6



theUnited States,pursuantto21U.S.C.j853(p),asincorporatedby28U.S.C.j2461(c),shall
be entitled to forfeiture ofsubstitute property up to the value ofthe forfeitablepropel'ty described

above.



18U.S.C.j981(a)(1)(C)
21U.S.C.j853(p)
28U.S.C.j2461(c)


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                                                     RobertK .Hur
                                                                  .../
                                                     U nited States Attorney
